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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

KELLY CRAWFORD,                               )
                                              )
       Plaintiff,                             )
                                              )       No. 3:10-cv-02740-JFA
       vs.                                    )
                                              )
ABSOLUTE COLLECTION                           )
SERVICE, INC.                                 )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, KELLY CRAWFORD, by and through her attorney,

JAMES M. ERVIN, and for her Complaint against the Defendant, ABSOLUTE COLLECTION

SERVICE, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Irmo, South

Carolina.
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       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.

       5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

       6.      On information and belief, Defendant is a corporation of the State of North

Carolina, which is not licensed to do business in South Carolina and which has its principal place

of business in Raleigh, North Carolina.

                                            COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

       7.      On or about November 1, 2009, Defendant mailed a letter to Plaintiff in an

attempt to collect an alleged debt.

       8.      On or about November 4, 2009, Plaintiff spoke by telephone with a representative

of Defendant on the telephone, who identified herself as “Mrs. Butler.”

       9.      Mrs. Butler stated to Plaintiff that she needed to make a payment of $25.00

towards the alleged debt in order for the alleged debt to not be reported to the credit reporting

bureaus.

       10.     On or about December 3, 2009, Plaintiff mailed a payment of $25.00 to

Defendant as requested.

       11.     On or about January 8, 2010, Plaintiff spoke with another representative of

Defendant on the telephone, who identified himself as “Bob.”




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       12.      Bob stated to Plaintiff that she needed to make another payment of $25.00

towards the alleged debt in order for the alleged debt to not be reported to the credit reporting

bureaus. Plaintiff advised Bob that she would send the payment by January 20, 2010.

       13.      On or about January 19, 2010, Plaintiff mailed a payment of $25.00 to Defendant

as requested.

       14.      Despite Defendant’s agreement not to report the alleged debt on Plaintiff’s credit

record as set forth above, Defendant reported the alleged debt to the credit reporting bureaus in

January of 2010. Furthermore, Defendant failed to report the payments that Plaintiff had made

towards the alleged debt as set forth above.

       15.      In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.     Using a false, deceptive or misleading representation or means in

                       connection with the collection of the alleged debt or to obtain information

                       about Plaintiff, in violation of 15 U.S.C. § 1692e(10);

                b.     Using an unfair or unconscionable means to attempt to collect a debt, in

                       violation of 15 U.S.C. § 1692f;

                c.     Communicating credit information which was known or which should

                       have been known to be false, in violation of 15 U.S.C. § 1692e(8); and

                d.     By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with the FDCPA.

       16.      As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.




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       WHEREFORE, Plaintiff, KELLY CRAWFORD, respectfully prays for a judgment as

follows:

               a.      Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ James M. Ervin
                                                      James M. Ervin
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